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US. DISTRICT COURT

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SHREVEPORT, LOUISIANA
RUFUS CLACKS, JR. Cys ‘ _ 0 7D] . "
VERSUS Doc | |
DOE JAMES

JUD

AMERICAN RELIABLE INSURANCE MAGISTRAAIG LO PRATE JUPGE Haves
COMPANY, JOHN WAYNE LOVETT ,

and JAMES A. CARTER

COMPLAINT FOR DAMAGES
NOW INTO COURT, through undersigned counsel, comes RUFUS CLACKS, JR. 2
competent major, domiciled in Morehouse Parish, Louisiana, respectfully representing:
JURISDICTION
1.
Jurisdiction is provided to this Honorable Court pursuant to the provisions of 28 USC 1332
et seq.
2.
The domicile of Rufus Clacks, Jr. is that of Morehouse Parish, Louisiana.
3.
The domicile of John Wayne Lovett is that of Crossett, Ashley County, Arkansas.
4,
The domicile of James A. Carter is that of Crossett, Ashley County, Arkansas.
5.

American Reliable Insurance Company is a foreign insurer that issued a policy of automobile

liability insurance insuring James A. Carter and the omnibus insured, John Wayne Lovett.
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This is a claim for personal injuries arising out of an automobile accident that occurred on
February 4, 1999 in Morehouse Parish, Louisiana.
7.

The injuries in question arose in Morehouse Parish and, as a result, the United States District

Court for the Western District of Louisiana would be a court of proper venue.

CAUSE OF ACTION

Complainant shows that on February 4, 1999, he was operating his 1988 Chevrolet
automobile on East Madison Avenue in Bastrop, Louisiana in a westward direction.
9.
East Madison Avenue in the vicinity of the accident is a five lane highway with two travel
lanes going east, two travel lanes going west and a center turning lane.
10. ae
Complainant was operating his vehicle on the inside lane of travel of the two westbound
lanes of East Madison Avenue adjacent to the center turning lane.
11.
The defendant, John Wayne Lovett, was operating a 1989 Kenworth tractor-trailer on the
outside lane of the two westbound lanes of travel of East Madison Avenue.
12.

The vehicles in question were approaching the intersection of East Madison Avenue and

McCreight Street prior to the accident.
 

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13.

That as John Wayne Lovett approached the intersection, he attempted to turn right onto
McCreight Street and, in doing so, made a right wide turn causing long logs, which were being
carried on the trailer to protrude over into the lane of travel being occupied by complainant.

14.

Prior to the turning procedure, both vehicles had been traveling very close to each other, and
complainant had no warning whatsoever that the defendant, John Wayne Lovett, would be making
a wide turn causing the logs he was carrying to nrotrnde into comnlainant’s lane of travel.

15.
That as a result of the wide turn, logs protruded several feet over into complainant’s lane of

travel and, in fact, did enter complainant’s car striking complainant on the right side of his head

causine him serious injuries

16.

Complainant shows that at the time of the accident in question, John Wayne Lovett was
operating the vehicle that belonged to James A. Carter with the consent and permission of James A.
Carter and further, upon information and belief, at the time of the accident John Wayne Lovett was
an employee of James A. Carter and, as such., James A. Carter is responsible to complainant under
the theory of “respondeat superior”.

17.
Complainant shows that the sole and proximate cause of the accident in question is one or

more of the following acts of negligence of John Wayne Lovett, to-wit:
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1) Improper turning;
2) Making a wide turn;
3) Failure to yield;

4) Crossing the centerline;

5) Failure to see what he should have seen;

6) Failure to do what he should have done under the circumstances;

7) Negligent injury;

8) Failure to maintain flags and other warning devices on the logs in question;

9) Failure to notice the imminence of an accident and take steps to avoid same; and

10) Reckless disregard for the safety of others

all in violation of the traffic ordinances of the City of Bastrop, Parish of Morehouse and State
of Louisiana, which are incorporated herein as if copied in extenso.

18.

Complainants show and aver upon information and belief that the American Reliable
Insurance Company did have in full force and effect on the date of the accident a policy of
automobile liability insurance insuring James A. Carter and John Wayne Lovett for the negligent
acts as set forth hereinabove.

19,
The American Reliable Insurance Company is indebted in solido with James A. Carter and
John Wayne Lovett for the damages and injuries arising out of the accident in question.
DAMAGES
20.
Complainant shows that as a result of said accident, he did receive severe injuries to the right

side of his head causing the need for surgery and the placement of plates in his skull.
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21.
As a result of the injuries, complainant has suffered and will continue to suffer significant
pain, scarring and disfigurement.
22.
Complainant itemizes his damages as follows:

1) Past physical pain and suffering;
2) Future physical pain and suffering;

3) Past medical expenses;

4) Future medical expenses;

5) Disability:

6) Scarring and disfigurement;

7) Mental anguish and emotional distress; and

8) Damage, depreciation and loss of use of vehicle

23.

Complainant shows and avers that the amount of damages he seeks far exceeds the amount
of the statutory minimum for jurisdiction in the United States District Court, thereby entitling him
to have these proceedings lodged in the United States District Court for the Western District of
Louisiana.

TRIAL BY JURY
24.
Complainant does hereby request and is entitled to a trial by jury on all issues.
WHEREFORE, complainant prays that the defendants be duly cited and served with a copy

of this complaint and be made to appear and answer same and, that after all due proceedings and
 

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delays are had, there be judgment herein in favor of complainant and against the defendants, in

solido, in an amount of damages to be determined at the trial on the merits hereof, together with legal

interest thereon from the date of judicial demand until paid, and for all costs of these proceedings.

FURTHER prays for trial by jury.

RESPECTFULLY SUBMITTED,

TRAVIS M. HOLLEY
ATTORNEY AND COUNSELOR AT LAW
P.O. DRAWER 590

1302 LEAVELL AVENUE

BASTROP, I.A 71971-0590

(318) 281-1000

COUNSEL FOR COMPLAINANT

By: fj Set Re,
TRAVIS M. HOLLEY
BAR ROLL NO. 6954

 
